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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 IN RE:                                               MDL NO. 2460
 NIASPAN ANTITRUST LITIGATION

 THIS DOCUMENT RELATES TO:                            MASTER FILE NO. 13-MD-2460
 ALL ACTIONS

                                           ORDER

       AND NOW, this 13th day of August, 2019, upon consideration of Direct Purchaser Class

Plaintiffs’ Motion for Class Certification (Document Nos. 577 & 579, filed December 19, 2019),

defendants’ Memorandum of Law in Opposition to Direct Purchaser Plaintiffs’ Motion for Class

Certification (Document Nos. 606 & 607, filed February 25, 2019), and Reply in Further Support

of Direct Purchaser Class Plaintiffs’ Motion for Class Certification (Document Nos. 624 & 625,

filed March 25, 2019), and following Hearings on May 14, 2019, and July 23, 2019, for the

reasons stated in the accompanying Memorandum dated August 13, 2019, IT IS ORDERED

that Direct Purchaser Class Plaintiffs’ Motion for Class Certification is GRANTED.

       IT IS FURTHER ORDERED as follows:

       1.       The following Direct-Purchaser Plaintiff (“DPP”) class is hereby CERTIFIED

pursuant to Federal Rule of Civil Procedure 23(a) and 23(b)(3):

       All persons or entities in the United States and its territories who purchased brand
       name Niaspan directly from any defendant, and generic Niaspan (extended-release
       niacin) at any time during the period April 5, 2009 through June 26, 2014; or who
       purchased generic Niaspan (extended-release niacin) directly from any defendant
       during that time period; or who purchased brand name Niaspan directly from any
       defendant at any time after April 5, 2009 but ceased operations before generic
       Niaspan entered in September 2013. Excluded from the class are the defendants,
       their officers, directors, management, employees, subsidiaries, and affiliates, and
       all federal governmental entities;

       2.       The following plaintiffs are APPOINTED as representatives of the DPP class:

Rochester Drug Co-Operative, Value Drug, and Professional Drug Company Inc.;
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       3.       The law firms of Berger Montague PC, Garwin Gerstein & Fisher LLP, and

Hagens Berman Sobol Shapiro LLP are hereby APPOINTED as Co-Lead Counsel to the DPP

class; and

       4.       Within 30 days of the date of this Order, the parties shall submit an agreed-upon

proposed notice program and a form of notice to DPP class members. If the parties are unable to

agree on the proposed notice program and/or form of notice, they shall submit separate proposals

by that date.




                                                     BY THE COURT:

                                                     /s/ Hon. Jan E. DuBois

                                                        DuBOIS, JAN E., J.




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